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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

  ANTONIO CASTILLO,
  ALEXANDER MENDEZ,                                          CASE NO.:
  JOSE MIGUEL LOPEZ,
  NICHOLAS LOVE,
  RAUL CASTRILLO,
  JAVIER EXPOSITO,
  JESSICA COBAS,
  MARGARELYS FLORES,
  NALLELY FERNANDES,
  MARIANGEL VILLAREAL, and
  ZHUO CHOI

         Plaintiffs,
  v.                                                         DEMAND FOR JURY TRIAL

  SHOMA GROUP, LLC,
  a Florida Limited Liability Company d/b/a
  SHOMA BAZAAR

         Defendant.
                                                /

                                          COMPLAINT

         Plaintiffs, ANTONIO CASTILLO, ALEXANDER MENDEZ, JOSE MIGUEL LOPEZ,

  NICHOLAS LOVE, RAUL CASTRILLO, JAVIER EXPOSITO, JESSICA COLBAS,

  MARGELYS FLORES, NALLELY FERNANDES, MARIANGEL VILLAREAL, and ZHUO

  CHOI (collectively, “Plaintiffs”), pursuant to 29 U.S.C. §§ 201 - 219, and Art. X, Sec. 24 of the

  Florida Constitution, file this Complaint for Damages and Demand for Jury Trial against

  Defendant, SHOMA GROUP, LLC, d/b/a SHOMA BAZAAR (“Shoma Bazaar” or “Defendant”),

  for its failure to pay Front of the House employees state and federal minimum wages, as follows:




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                                        INTRODUCTION

          1.    Plaintiffs bring this action under the Fair Labor Standards Act (“FLSA”), the

  Florida Minimum Wage Act (“FMWA”), and Art. X, Sec. 24 of the Florida Constitution, to recover

  compensation and other relief.

          2.    Defendant committed federal and state minimum wage violations because it

  improperly allowed Supervisors and Managers in the tipping pool and improperly kept Plaintiffs’

  tips.

          3.    As a result, Plaintiffs have been denied federal and state minimum wages and tips

  during various workweeks within the relevant time period.

                                            PARTIES

          4.    During all times material hereto, Plaintiff ANTONIO CASTILLO was a resident

  of Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

          5.    During all times material hereto, Plaintiff ALEXANDER MENDEZ was a resident

  of Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

          6.    During all times material hereto, Plaintiff JOSE MIGUEL LOPEZ was a resident

  of Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

          7.    During all times material hereto, Plaintiff NICHOLAS LOVE was a resident of

  Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

          8.    During all times material hereto, Plaintiff RAUL CASTRILLO was a resident of

  Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

          9.    During all times material hereto, Plaintiff JAVIER EXPOSITO was a resident of

  Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.




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           10.   During all times material hereto, Plaintiff JESSICA COLBAS was a resident of

  Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

           11.   During all times material hereto, Plaintiff MARGELYS FLORES was a resident of

  Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

           12.   During all times material hereto, Plaintiff NALLELY FERNANDES was a resident

  of Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

           13.   During all times material hereto, Plaintiff MARIANGEL VILLAREAL was a

  resident of Miami-Dade County, Florida, over the age of 18 years, and otherwise sui juris.

           14.   Plaintiffs are non-exempt Front of the House employees who worked for Defendant

  at their food hall establishment, known as Shoma Bazaar, located at 9420 NW 41st St, Doral, FL

  33178.

           15.   Plaintiffs were hired as bartenders or barbacks at Defendant’s Shoma Bazaar food

  hall and were ‘tipped’ non-exempt employees, as defined under the FLSA.

           16.   Defendant is believed to have records identifying the exact dates when they

  employed Plaintiffs as front-of-the-house tipped employees.

           17.   During all times material hereto, Defendant was a Florida limited liability company

  operating and transacting for-profit business within Miami-Dade County, Florida, within the

  jurisdiction of this Honorable Court.

           18.   Defendant Shoma Group, LLC, operates under the fictitious name of “Shoma

  Bazaar Food Hall,” a food hall in Miami, Florida.

           19.   During all times material hereto, Defendant owned, operated, and controlled the

  Shoma Bazaar food hall located at 9420 NW 41st St, Doral, FL 33178.




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         20.     Defendant was the Plaintiffs’ “employer” as defined by the FLSA and FMWA

  during all times pertinent to the allegations herein.

         21.     During all times material hereto, Defendant was vested with control and decision-

  making authority over the hiring, firing, scheduling, day-to-day operations, and pay practices of

  the Shoma Bazaar food hall.

         22.     Defendant implements uniform pay, tip, and time-keeping practices at the Shoma

  Bazaar food hall that apply to all Front of the House employees.

                                      JURISDICTION AND VENUE

         23.     This Court has original jurisdiction over the Plaintiff’s federal question claims

  pursuant to 28 U.S.C. §1331 and 26 U.S.C. §201, et seq., and supplemental jurisdiction over the

  Plaintiff’s claims arising under Florida law pursuant to 28 U.S.C. §1367 and/or 28 U.S.C. §1343.

         24.     Defendant regularly transacts business in Miami-Dade County, Florida, and

  jurisdiction is therefore proper.

         25.     The acts or omissions in this dispute occurred within Miami-Dade County, Florida.

         26.     Venue in this Court is proper under 28 U.S.C. §1391(b)(ii) because Defendants

  transact business in this District, and because Plaintiffs worked in Miami-Dade County, were paid

  in Miami-Dade County, and were due to be paid the tips that they earned in Miami-Dade County.

         27.     Plaintiffs fulfilled all conditions precedent required to bring their claims under the

  FMWA.

         28.     More specifically, on January 10, 2024, Plaintiffs, through their counsel, served

  Defendant with a written pre-suit demand notice regarding their FMWA claims, requesting

  Defendant to pay them the minimum wages owed to them.




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         29.     As of the filing of this lawsuit, Defendant refuses to pay Plaintiffs any wages or

  tips wrongfully appropriated by Defendant.

                                        FLSA COVERAGE

         30.     Defendant is an enterprise covered by the FLSA because Shoma Bazaar engaged

  in commerce and in the production of goods for commerce, in that Defendant had at least two or

  more employees engaged in commerce and in the production of goods for commerce, and two (2)

  or more employees handling, selling, or otherwise working on goods or materials that have been

  moved in or produced for commerce.

         31.     During all time periods pertinent hereto, Defendant’s employees regularly handled

  goods and materials such as food, beverages, napkins, silverware, appliances, rice, beer, Corona

  Extra, Corona Light, vodka, Jack Daniels whiskey, meat, chicken, pork, cheese, broccoli, carrots,

  peas, oil, zucchini, wings, mahi mahi, salmon, onions, peppers, crab, shrimp, beef, steak, potatoes,

  bread, hot sauce, BBQ sauce, cheese, buns, jalapenos, celery sticks, lobster broth, yellowfin tuna,

  plum tomatoes, cauliflower, avocados, taco shells, fajitas, salt, other food items, restaurant

  equipment, chairs, tables, vacuum cleaners, pens, paper, receipts, computers, credit card

  processors, staples, toothpicks, mints, flour, sugar, coffee, tea, soda, water bottles, and other

  materials that had previously traveled through interstate commerce.

         32.     Defendant had annual gross revenues over $500,000.00 in 2022 and 2023 and is

  expected to gross in excess of $500,000.00 in 2024.

                                               FACTS

         33.     Plaintiffs were bartenders and barbacks at the Defendant’s establishment and were

  ‘tipped’ employees under the FLSA.




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          34.     During the Plaintiffs’ employment, Defendant claimed a ‘tip-credit’ for Plaintiffs

  and paid these employees below the statutorily required minimum wage under the FLSA.

          35.     For Defendant to claim a ‘tip-credit,’ the Plaintiffs must be informed of the

  provisions of the ‘tip-credit,’ and all tips received by the Plaintiffs must be absolutely retained by

  Plaintiffs and pooled with only ‘tipped’ employees.

          36.     However, Defendant failed to comply with the ‘tip-credit’ requirements pursuant

  to the FLSA by including non-'tipped’ employees, including but not limited to managers or

  supervisors who received a portion of the Plaintiffs’ tips when they were not ‘tipped’ employees.

          37.     Defendant’s failure to comply with the FLSA ‘tip-credit’ requirements results in

  Defendant’s inability to claim a ‘tip-credit’ for the Plaintiffs.

          38.     Defendant, unable to claim a ‘tip-credit,’ is required to therefore compensate

  Plaintiffs with, at least, the required minimum wage.

          39.     Defendant willfully refused to properly compensate Plaintiffs for minimum wage

  in violation of the FLSA, as the aforementioned ‘tip-credit’ was claimed despite the fact that

  Defendant had failed to comply with the ‘tip-credit’ requirements under the FLSA.

          40.     All records concerning the number of hours worked by Plaintiffs are in Defendant’s

  exclusive possession and sole custody and control. Therefore, the Plaintiffs cannot state the exact

  amount due at this time.

          41.     Plaintiffs, however, will exert their collective diligent efforts to obtain such

  information by appropriate discovery proceedings, which will be taken promptly in this case, and

  if required, an amendment to this Complaint will be submitted to set forth an amount due by the

  Plaintiffs.




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          42.     Plaintiffs retained the undersigned counsel and agreed to pay a reasonable

  attorney’s fee for all related services.

                                       COUNT I
                   VIOLATION(S) OF THE FAIR LABOR STANDARDS ACT
                                 (TIP CONFISCATION)

          43.     Plaintiffs hereby re-alleges and re-avers Paragraphs 1 through 42 as though set forth

  fully herein.

          44.     Defendant employed Plaintiffs in its restaurant “Shoma Bazaar.”

          45.     Under the FLSA, Defendant Shoma Bazaar is precluded from retaining any portion

  of the tips or overtips earned by its employees for any reason.

          46.     Under the FLSA, Defendant Shoma Bazaar is precluded from distributing any of

  its employees’ tips or overtips to traditionally non-tipped employees (such as owners, officers,

  directors, partners, managers, or supervisors).

          47.     Defendant Shoma Bazaar disregarded the FLSA’s prohibition on retaining the tips

  and/or overtips earned by its employees by keeping a portion of the tips and overtips left—either

  in cash or by credit card—by customers for Plaintiffs.

          48.     Defendant Shoma Bazaar disregarded the FLSA’s prohibition on distributing any

  of its employees’ tips or overtips to traditionally non-tipped employees by distributing such tips

  and/or overtips to its’ managers or supervisors.

          49.     In addition to Defendant Shoma Bazaar placing managers or supervisors in the

  tipping pool, Shoma Bazaar incorrectly reported the amount of tips customers left for Plaintiffs in

  credit card transactions.

          50.     The amount of tips clients left on credit card transactions did not precisely reflect

  the amount of tips shared in the Plaintiffs’ payroll system.



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          51.     The amount of tips shared in the payroll system was less than the amount collected

  through credit cards.

          52.     As a direct and proximate result of Defendant retaining a portion of the tips and/or

  overtips earned by its employees and distributing a portion of the tips and/or overtips to traditionally

  non-tipped employees, such as its managers and supervisors, Defendant violated the FLSA and

  damaged Plaintiffs.

          53.     Plaintiffs are entitled to recover as damages all tips and overtips that Defendant

  improperly retained and/or that Defendant improperly distributed to traditionally non-tipped

  employees.

          54.     Defendant willfully and intentionally refused to pay Plaintiffs all the tips and overtips

  they earned/received during the relevant time.

          WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment

  in their favor and against Defendant, SHOMA GROUP, LLC, and award Plaintiffs and the putative

  collective: (a) the tips and overtips improperly withheld/distributed and an additional equal amount

  as liquidated damages, pursuant to 29 U.S.C. §§ 203(m)(2)(B) and 216(b); and (b) all reasonable

  attorney’s fees and litigation costs as permitted under the FLSA; and any and all such further relief

  as this Court deems just and reasonable under the circumstances.

                                     COUNT II
                  VIOLATION(S) OF THE FAIR LABOR STANDARDS ACT
                            (UNPAID MINIMUM WAGES)

          55.     Plaintiffs hereby re-alleges and re-avers Paragraphs 1 through 42 as though set forth

  fully herein.

          56.     Plaintiffs were entitled to be paid full federal minimum wage in one or more

  workweeks for certain hours worked during their employment with Defendant.



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            57.      Defendant attempted to rely on the FLSA’s tip credit but unlawfully permitted non-

  tipped employees (such as supervisors and managers) to participate in Defendant’s tip pool along

  with Plaintiffs.

            58.      Defendant also required the Plaintiffs to surrender tips to non-tipped supervisors

  and managers.

            59.      Plaintiffs did not voluntarily share their tips with supervisors and managers.

            60.      Therefore, Defendant must return all tips unlawfully retained by supervisors and

  managers and pay Plaintiffs the tip credit claimed.

            61.      Plaintiffs seek to recover these federal minimum wages and tips under 29 U.S.C. §

  216(b).

            62.      Defendant knew Plaintiffs were non-exempt, tipped employees but willfully failed

  to pay the Plaintiffs in accordance with the FLSA.

            63.      As a direct and proximate result of Defendant’s unlawful pay practices, Plaintiffs

  have been damaged in the loss of federal minimum wages and tips for one or more weeks of work

  during their employment with Defendant.

            64.      Defendant’s willful and/or intentional law violations entitle Plaintiffs to an

  additional amount of liquidated, or double, damages.

            WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment

  in his favor and against Defendant, SHOMA GROUP, LLC, and award Plaintiffs and the putative

  collective: (a) unliquidated federal minimum wage damages; (b) the tip credit unlawfully claimed

  by Defendant; (c) all tips unlawfully retained by Defendant; (d) liquidated damages; (e) all

  reasonable attorney’s fees and litigation costs as permitted under the FLSA; and any and all such

  further relief as this Court deems just and reasonable under the circumstances.



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                                     COUNT III
                  VIOLATION(S) OF THE FLORIDA MINIMUM WAGE ACT
                              UNPAID MINIMUM WAGES

          65.     Plaintiffs hereby re-alleges and re-avers Paragraphs 1 through 42 as though fully

  set forth herein.

          66.     Defendant violated the terms of F.S. § 448.110 and the Florida Constitution’s

  minimum wage requirements by requiring Front of the House employees to share their tips with

  non-tipped employees (such as Supervisors and Managers).

          67.     Plaintiffs did not voluntarily share their tips with Defendant’s Supervisors and

  Managers.

          68.     Defendant, therefore, forfeits any tip credit under Florida law and owes each

  Plaintiff at least $3.02 for each hour of work they performed.

          69.     Plaintiffs have complied with the pre-suit notice, and all other conditions precedent

  to this action have been performed or waived by sending Defendant a written pre-suit Florida

  Minimum Wage demand letter as required by Florida law before this claim was filed.

          70.     On January 10, 2024, Plaintiffs served Defendant with a written pre-suit Notice

  pursuant to Fla. Stat. § 448.110.

          71.     More than 15 days have passed since Plaintiffs served a written pre-suit Notice on

  Defendant, and Defendant has failed to tender full payment to Plaintiffs.

          72.     From September 30, 2021, through September 29, 2022, the Florida Minimum

  Wage was $10.00 per hour.

          73.     From September 30, 2022, through September 29, 2023, the Florida Minimum

  wage was $11.00 per hour.




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          74.     Defendant violated the FMWA and Florida Constitution’s provision on minimum

  wages by allowing supervisors and managers to participate in a tip pool with Plaintiffs.

          75.     Defendant was aware of the requirements of the FMWA and the pertinent

  regulations thereto but acted willfully in failing to pay the Plaintiffs in accordance with the law.

          76.     As a direct and proximate result of Defendant retaining a portion of the tips that

  should have been paid to its front-of-the-house tipped employees and/or distributing a portion of

  the tips to traditionally non-tipped employees (such as managers or supervisors), Defendant

  violated the FMWA.

          WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter judgment

  in his favor and against Defendant, SHOMA GROUP, LLC, and award Plaintiffs: (a) unliquidated

  Florida minimum wage damages; (b) the tip credit unlawfully claimed by Defendant; (c) all tips

  unlawfully retained by Defendant; (d) liquidated damages; (e) all reasonable attorney’s fees and

  costs permitted under Fla. Stat. § 448.110 and Florida law, and any and all such further relief as

  this Court may deem just and reasonable under the circumstances.

                                     COUNT IV
                  VIOLATION(S) OF THE FLORIDA MINIMUM WAGE ACT
                      RETALIATION AGAINST ANTONIO CASTILLO

          77.     Plaintiffs hereby re-alleges and re-avers Paragraphs 1 through 42 as though fully

  set forth herein.

          78.     Plaintiff Antonio Castillo brings this claim under the Florida Minimum Wage Act,

  Florida Statutes §§ 448.101, 448.102, and 448.109 et seq. for Defendant’s retaliatory conduct.

          79.     Defendant knew of Plaintiff Castillo’s complaints of unpaid tips, unlawful tip

  confiscation, and violation of federal and state minimum wage laws, as Mr. Castillo made the

  complaints to Shoma Bazaar managers or supervisors.



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         80.     Mr. Castillo’s most recent complaint was made to general manager David

  (unknown last name) (“GM David”) on or about May 6, 2024.

         81.     Mr. Castillo complained about Shoma Bazaar’s unpaid tips, unlawful tip

  confiscation, and violations of federal and state minimum wage law.

         82.      Mr. Castillo had previously complained to the former general manager about

  Shoma Bazaar’s unpaid tips, unlawful tip confiscation, and violation of federal and state minimum

  wage laws.

         83.     In conversation, GM David discovered Mr. Castillo had made previous complaints

  and how Mr. Castillo had to seek legal representation to enforce his rights.

         84.     Through the conversation, GM David became aware that Mr. Castillo was the

  “leader” in having the bartenders and bussers join the current lawsuit against Shoma Bazaar.

         85.     Mr. Castillo asked GM David to move on to another subject related to work and

  not this current lawsuit.

         86.     Shortly thereafter, on or about May 10, 2024, Plaintiff Castillo was not given any

  work hours for the upcoming week.

         87.     On May 13, 2024, Defendant terminated Mr. Castillo.

         88.     As a result of Defendant’s actions, by and through the conduct of its agents,

  employees, or representatives, and Defendant’s failure to make prompt remedial action to prevent

  unlawful tip confiscations and violations of state and federal minimum wage laws, deprived Mr.

  Castillo of statutory rights under state law.

         89.     Based on information and belief, Plaintiff alleges that Defendant’s actions were

  done with malice and with disregard for his protected rights under the FMWA.




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          90.     Defendant’s alleged reasons for terminating Mr. Castillo are pretextual, as

  described above.

          91.     Plaintiff Castillo seeks his attorney’s fees and costs as permitted by law.

          WHEREFORE, Plaintiff Antonio Castillo respectfully requests that this Honorable Court

  enter judgment in his favor and against Defendant, SHOMA GROUP, LLC, and award Plaintiff:

  (a) unliquidated damages; (b) liquidated damages; (c) all reasonable attorney’s fees and costs

  permitted under law, and any and all such further relief as this Court may deem just and reasonable

  under the circumstances.

                                      COUNT V
                               VIOLATION(S) OF THE FLSA
                        RETALIATION AGAINST ANTONIO CASTILLO

          92.     Plaintiffs hereby re-alleges and re-avers Paragraphs 1 through 42 as though fully

  set forth herein.

          93.     Plaintiff Antonio Castillo brings this claim under the Fair Labor Standards Act, 29

  U.S. Code §§ 215 et seq. and 216 et seq. for Defendant’s retaliatory conduct.

          94.     Defendant knew of Plaintiff Castillo’s complaints of unpaid tips, unlawful tip

  confiscation, and unpaid minimum wages under the FLSA, as Mr. Castillo complained to Shoma

  Bazaar managers or supervisors.

          95.     Mr. Castillo’s most recent complaint was made to general manager David

  (unknown last name) (“GM David”) on or about May 6, 2024.

          96.     Mr. Castillo complained about Shoma Bazaar’s unpaid tips, unlawful tip

  confiscation, and violations of federal and state minimum wage law.




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         97.      Mr. Castillo had previously complained to the former general manager about

  Shoma Bazaar’s unpaid tips, unlawful tip confiscation, and violation of federal and state minimum

  wage laws.

         98.     In conversation, GM David discovered that Mr. Castillo had made previous

  complaints and that he now had to seek legal representation to enforce his rights.

         99.     Through the conversation, GM David became aware that Mr. Castillo was the

  “leader” in having the bartenders and bussers join the current lawsuit against Shoma Bazaar.

         100.    Mr. Castillo asked GM David to move on to another subject related to work and

  not this current lawsuit.

         101.    Shortly thereafter, on or about May 10, 2024, Plaintiff Castillo was not given any

  work hours for the upcoming week.

         102.    On May 13, 2024, Defendant terminated Mr. Castillo.

         103.    As a result of Defendant’s actions, by and through the conduct of its agents,

  employees, or representatives, and Defendant’s failure to make prompt remedial action to prevent

  unlawful tip confiscations and violations of state and federal minimum wage laws, deprived Mr.

  Castillo of statutory rights under state law.

         104.    Based on information and belief, Plaintiff alleges that Defendant’s actions were

  done with malice and with disregard for his protected rights under the FLSA.

         105.    Defendant’s alleged reasons for terminating Mr. Castillo are pretextual, as

  described above.

         106.    Plaintiff Castillo seeks his attorney’s fees and costs as permitted by law.

         WHEREFORE, Plaintiff Antonio Castillo respectfully requests that this Honorable Court

  enter judgment in his favor and against Defendant, SHOMA GROUP, LLC, and award Plaintiff:



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  (a) unliquidated damages; (b) front and back pay; (c) liquidated damages; (d) all reasonable

  attorney’s fees and costs permitted under law, and any and all such further relief as this Court may

  deem just and reasonable under the circumstances.

                                   DEMAND FOR JURY TRIAL

          Plaintiffs demand a trial by jury on all issues and all counts of this Complaint so triable as

  a matter of right.

  Dated: May 29, 2024                            Respectfully Submitted,

                                                 By:     /s/ Andres F. Vidales
                                                         Andres F. Vidales, Esq.
                                                         Florida Bar No.: 1041185
                                                         Counsel for Plaintiffs
                                                         9300 S. Dadeland Blvd., 4th Floor
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                                                         cecilia.quevedo@qpwblaw.com
                                                         sofia.arcila@qpwblaw.com


                                     CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was furnished on the 29th day

  of May, 2024 via Electronic Service to all parties on the service list.


                                                 By:     /s/ Andres F. Vidales
                                                         Andres F. Vidales, Esq.
                                                         Florida Bar No.: 1041185




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